     Case 3:00-cr-00058-HDM-RAM     Document 259   Filed 03/12/14   Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8
 9
10                          UNITED STATES DISTRICT COURT
11                                  DISTRICT OF NEVADA
12
13    UNITED STATES OF AMERICA,         )            3:00-cr-00058-HDM-RAM
                                        )
14                   Plaintiff,         )
                                        )            ORDER
15    vs.                               )
                                        )
16    ROBERTO CARLOS RANGEL,            )
                                        )
17                   Defendant.         )
      _________________________________ )
18
            The defendant has filed a motion pursuant to 18 U.S.C. §
19
      3582(c)(2) (#258).    Section 3582(c)(2) allows the court to reduce a
20
      defendant’s term of imprisonment where the defendant “has been
21
      sentenced to a term of imprisonment based on a sentencing range
22
      that has subsequently been lowered by the Sentencing Commission.”
23
      However, defendant’s sentencing range has not been altered by the
24
      Sentencing Commission since the time he was sentenced, nor has he
25
      argued as much.    Rather, in substance, defendant’s motion appears
26
      to be a motion to vacate, set aside, or correct sentence pursuant
27
      to 28 U.S.C. § 2255.        Defendant is therefore ordered to advise the
28

                                             1
     Case 3:00-cr-00058-HDM-RAM   Document 259   Filed 03/12/14   Page 2 of 2



 1    court on or before April 14, 2014, whether the court should
 2    construe his motion as a motion pursuant to 28 U.S.C. § 2255.
 3    Defendant is advised that once he has filed one § 2255 motion,
 4    second or successive § 2255 motions are permitted only with the
 5    permission of the Court of Appeals.        See 28 U.S.C. § 2255(h).
 6          IT IS SO ORDERED.
 7          DATED: This 12th day of March, 2014.
 8
 9                                ____________________________
                                  UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           2
